                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 3:10-CR-00163
                                                    )
                                                    )       Judge Trauger
[4] TIM ALLEN                                       )
                                                    )
[5] ANTHONY BROOKS                                  )
                                                    )
[8] KERRY PETTUS                                    )
                                                    )
[10] DESHAUNE JONES                                 )
                                                    )
[20] KARLOS TAYLOR                                  )
                                                    )
                              Defendants.           )


                   MEMORANDUM AND ORDER CONCERNING
                MOTION TO SUPPRESS TITLE III WIRETAP EVIDENCE

        Defendant Anthony Brooks has submitted a Motion to Suppress Title III Wiretap

Evidence (Docket No. 685) with a supporting memorandum (Docket No. 686), in which co-

defendants Kerry Pettus (Docket Nos. 692 and 693), Deshaune Jones (Docket No. 710), Karlos

Taylor (Docket No. 714), and Tim Allen (Docket No. 828) have joined. The government

opposes the motion. (Docket No. 942.) For the reasons stated herein, the motion is DENIED.

                                       BACKGROUND

       In June 2008, federal and local authorities began investigating the Nashville-area branch

of the Piru Bloods gang (“Piru Bloods”). In early 2010, federal government agents sought and

obtained four wiretaps for phones utilized by certain Piru Bloods members. The government

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intends to utilize evidence gleaned from those wiretaps at trial against numerous defendants,

including Allen, Brooks, Jones, Pettus, and Taylor (“Defendants”).1 The Defendants seek to

suppress that evidence, contending that the applications for each wiretap were facially invalid

and/or substantively deficient.2

       The government obtained the wiretaps at issue through four successive applications

(hereinafter “First Application,” “Second Application,” etc.), each of which was approved by the

Chief Judge of this court (“Issuing Judge”) in a separate, sealed matter (hereinafter “SM Docket

No. [X]”). The Issuing Judge granted authorization for wiretaps of the following telephones:

       •       Target Telephone 1 (“TT1") (granted March 3, 2010), a cell phone utilized by
               alleged Piru Bloods leader Lonnie Newsome. (SM Docket Nos. 2-3.)3

       •       Target Telephone 2 (“TT2") (granted April 2, 2010), a cell phone utilized by
               alleged Piru Bloods leader Ricky Williams. (SM Docket Nos. 8-9.)

       •       Target Telephone 3 (“TT3") (granted April 30, 2010), a second cell phone utilized
               by Williams. (SM Docket Nos. 19-20.)

       •       Target Telephone 4 (“TT4") (granted May 14, 2010), a cell phone utilized by
               alleged Piru Bloods member William Bartlett. (SM Docket Nos. 27-28.)

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         The Defendants are each charged in the Superseding Indictment with four or more of the
following crimes: conspiracy to participate in a racketeering activity; conspiracy to commit
murder in aid of racketeering; assault with a dangerous weapon in aid of racketeering;
possession, use, and carrying of a firearm in furtherance of and during and in relation to a crime
of violence; assault resulting in serious bodily injury in aid of racketeering; assault with a
dangerous weapon in aid of racketeering; conspiracy to use and carry firearms during and in
relation to crimes of violence; distribution and/or possession with intent to distribute cocaine
base; and conspiracy to distribute narcotics. (Docket No. 397.)
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        Defendant Brooks submitted a detailed memorandum supporting the motion. Defendant
Pettus submitted a supplemental brief concerning whether the application supporting the first
wiretap established probable cause. Defendants Allen, Jones, and Taylor joined the motion
without reference to the record or any additional legal authority.
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       In the Second and Third Applications, federal agents sought and obtained extensions of
the TT1 wiretap.

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In support of each wiretap application, the government attached both an authorization letter from

the Department of Justice (“DOJ”) and an affidavit from a federal agent with knowledge of the

investigation. The court has reviewed the wiretap applications and supporting materials in their

entirety, comprising several hundred pages of information. Due to their length, the court will

reference only the most relevant facts in this order.

                                            ANALYSIS

       I.      Standing

       As an initial matter, the government contends that Brown lacks standing to challenge the

First Application. Relying on case law from outside the Sixth Circuit, the government contends

that an individual who was not a named interceptee or target of a wiretap must submit sworn

evidence that he was heard on the wiretap to establish standing. Accordingly, the government

argues that Brown, who was not named as a target until the Second Application and did not

submit an affidavit that he was heard on the first wiretap, lacks standing. However, the

government does not dispute that Jones actually was recorded engaging in conversations pursuant

to the first wiretap. Regardless, Defendants Allen, Jones, and Pettus were named as targets in the

First Application, and plainly have standing to challenge it. Accordingly, the court rejects the

government’s argument that the motion should be denied for lack of standing.

       II.     Facial Challenge

       The Defendants argue that the authorization letters for each wiretap are deficient because

they appear to have been drafted by one high-ranking DOJ official, but approved by another.

Under Title III, all wiretap applications must be approved by the Attorney General or a high-

ranking DOJ official specially designated by the Attorney General. 18 U.S.C. § 2516(1) (2011).


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Each wiretap application must specifically identify the DOJ official who authorized the

application, id. at § 2518(1)(a), and the ultimate wiretap order must also specify the person at the

DOJ who authorized the application. Id. at § 2518(4)(d). Suppression may be warranted if “the

order of authorization or approval under which it was intercepted is insufficient on its face.” Id.

at § 2518(10)(a)(ii).

       The purpose of the authorization requirement is to “insure that decisions to wiretap were

made by the named officials and did not reach into the lower echelons of command.” United

States v. Gray, 521 F.3d 514, 527 (6th Cir. 2008) (internal citation omitted). This requirement

“does not ‘occupy a central, or even functional, role in guarding against unwarranted use of

wiretapping or electronic surveillance.’” Gray, 521 F.3d at 528 (quoting United States v. Chavez,

416 U.S. 562, 578, 94 S. Ct. 1849, 40 L. Ed. 2d 380 (1974)). Thus, suppression is not required

for every minor facial insufficiency in the underlying Justice Department approval. Gray, 521

F.3d at 522. For example, in Gray, the Sixth Circuit held that suppression was not warranted,

even where a wiretap order and application contained several technical defects, including the

alleged defect presented here. In Gray, the authorization letters contained text with an unsigned

signature block for then-Assistant Attorney General (“AAG”) Michael Chertoff, but the letters

were signed by then-Deputy Assistant Attorney General (“DAAG”) John Malcolm. Id. at 524.

Also, neither the wiretap applications nor the court’s approval orders identified the official who

had authorized the application. Id. The defendants argued that suppression was warranted on the

basis that it was ambiguous which DOJ official had actually approved the applications. Id. The

Sixth Circuit disagreed and found that the letters satisfied Title III’s requirements. In reaching

this decision, the court stated that “suppression is not warranted . . . when a wiretap application or


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order either misidentifies a DOJ official who could not legally authorize the wiretap or. . .

identifies no official at all, so long as the record shows that a statutorily designated official

actually gave the authorization.” Id. at 526 (emphasis added).

       Here, the authorization letters plainly satisfy the Gray standard. Although each

authorization letter was styled “From” Lanny A. Breuer (Criminal Division AAG), each letter

was signed and dated by a DAAG - i.e., someone other than AAG Breur - just a day or two before

each wiretap application was made.4 (See, e.g., SM Docket No. 1, Ex. 2.) Each letter accurately

recites the cell phone number(s) and investigatory targets of the associated wiretap. Thus, similar

to the authorization letters upheld in Gray, the authorization letters here were apparently drafted

by AAG Breuer but, after tailoring to the specific wiretap application, were approved by a duly

authorized DAAG. Furthermore, each application and the associated court order explicitly

reference the DAAG who signed the underlying authorization letter, thereby avoiding two of the

technical defects present in Gray that the Sixth Circuit found were excusable in any case.

       III.    Substantive Challenges

       The Defendants assert two substantive challenges to the wiretap applications. First, they

contend that the government failed to demonstrate that a wiretap was necessary, in violation of 18

U.S.C. § 2518(1)(c). Second, they contend that the government failed to establish probable cause.

The government argues that it satisfied these requirements.

               (A)     Legal Standard



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        DAAG Jason A. Weinstein signed and dated the authorization letters supporting the First
and Fourth Applications, DAAG Bruce C. Swartz the letter supporting the Second Application,
and DAAG Kenneth A. Blanco the letter supporting the Third Application. The defendants do
not dispute that these DAAGs had authority to approve the wiretaps.

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       In analyzing whether the government met the necessity and probable cause requirements

under Title III, the court must accord “great deference” to the determination of the issuing judge.

United States v. Corrado, 227 F.3d 528, 539-40 (6th Cir. 2000) (applying standard to necessity

analysis); United States v. Alfano, 838 F.2d 158, 162 (6th Cir. 1988) (applying standard to

probable cause analysis). Thus, “the fact that a later trial judge or reviewing court may feel that a

different conclusion was appropriate does not require, nor even authorize, the suppression of

evidence gained through such a warrant.” Corrado, 227 F.3d at 539 (quoting Alfano, 838 F.3d at

162). Accordingly, “neither a trial judge nor an appellate court may exclude evidence gathered

under a lawfully issued warrant solely on the basis that those judges would not have issued the

warrant had they been in the magistrate’s place.” Alfano, 838 F.2d at 163.

       In analyzing an affidavit in support of a search warrant, “courts should review the

sufficiency of the affidavit in a commonsense, rather than hypertechnical manner.” United States

v. Greene, 250 F.3d 471, 479 (6th Cir. 2001). Thus, the court should not consider paragraphs of

the affidavit in isolation, but instead should analyze whether the facts presented in the affidavit,

read as a whole, provide the requisite basis for the issuing judge’s decision. United States v.

Landmesser, 553 F.2d 17, 19-21 (6th Cir. 1977).

               (B)     Supporting Affidavits

       Each application is supported by an affidavit from a Special Agent from the Bureau of

Alcohol, Tobacco, Firearms, and Explosives (“ATF”) involved in the ongoing criminal

investigation, as follows:

       •       First Affidavit: The affidavit of special agent Kyle Mark Himel supporting
               the First Application (SM Docket No. 2) (“First Affidavit”) comprises 58
               pages, including 115 paragraphs.


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       •       Second Affidavit: The affidavit of special agent Himel supporting the
               Second Application (SM Docket No. 8) (“Second Affidavit”) comprises 44
               pages, including 77 paragraphs.

       •       Third Affidavit: The affidavit of special agent Mickey French supporting
               the Third Application (SM Docket No. 19) (“Third Affidavit”) comprises
               47 pages, including 79 paragraphs.

       •       Fourth Affidavit: The affidavit of special agent French supporting the
               Fourth Application (SM Docket No. 27) (“Fourth Affidavit”) comprises 45
               pages and 76 paragraphs.

Each affidavit contains a summary of the Special Agent’s background and qualifications,5

detailed information concerning the operation of the Piru Bloods gang, the identities of

individuals expected to be intercepted through the wiretap(s), a list of the crimes that the target

subjects allegedly had committed or would commit (either directly or by aiding and abetting), a

description of the information provided by and/or activities undertaken to support the

investigation by multiple confidential sources, a description of any recorded discussions

involving investigatory targets (consensual or otherwise), a telephone toll record analysis, a stated

basis for the need for interception of wire communications, a description of the non-wiretap

means undertaken in the investigation, a description of why certain investigative techniques were

not undertaken, and information regarding minimization.

                       (1)     First Affidavit

       The First Affidavit establishes that the investigation of the Piru Bloods began in June


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         According to their affidavits, Special Agents Himel and French are experienced ATF
field officers who, prior to filing the applications at issue here, had participated in numerous
long-term, complex investigations of organized groups, including criminal street gangs, that
commit narcotics, firearms, and violent offenses. (See, e.g., First Affidavit ¶ 2; Third Affidavit ¶
2.) In the course of these investigations, they became familiar with and utilized a variety of
investigative techniques, including the development of cooperating sources, source debriefings,
physical surveillance, telephone toll analysis, and electronic surveillance. (Id.)

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2008, when the Metropolitan Nashville Police Department developed a confidential source, a Piru

Bloods member identified as “CS-6,” who provided the police with information linking the Piru

Bloods to a recent homicide. (First Affidavit ¶ 14.) The Piru Bloods are a gang that originated in

Los Angeles, California before breaking into individual branches, or “sets,” including the so-

called “Piru Bloods” in Compton, California. (Id. ¶¶ 8-9.) Sets of the Piru Bloods emerged in

other parts of the country, including Tennessee. (Id. ¶ 9.) The investigation in this case broadly

concerned the alleged criminal activities of certain Tennessee-based Piru Bloods sets (id. ¶ 9-16),

which, for purposes of this motion, are collectively referred to as the “Piru Bloods.” In particular,

the investigation initially focused on the Nashville-based sets of the Tree Top Pirus, led by

Newsome (Id. ¶¶ 12, 17(a)) and the Eastside Skyline Pirus, led by Williams (Id. ¶ 17(h)). The

First Affidavit asserted that, although each of these sets retained a distinct hierarchy, their

criminal activities overlapped, including joint meetings led by Newsome and Williams (id. ¶ 63).

The affidavit also alleged that Williams and Newsome, the leaders of the two affiliated Piru

Bloods sets in Nashville, engaged in criminal activities together in person (see, e.g., id. ¶¶ 51-52)

and were in frequent contact over the phone (id. ¶ 71.)

       In the course of the investigation preceding the First Affidavit, the government utilized six

confidential sources to gather information (hereinafter “CS-1,” “CS-2,” etc.). These included one

current Piru Bloods member, CS-6, as well as former members and members of rival gangs.6 CS-

1, a rival gang member, contended that Newsome was involved in narcotics trafficking with

Pettus and others and that the Piru Bloods had engaged in violent acts of retribution, including


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        Contrary to Brooks’s contentions, the affidavit plainly indicates the dates on which
confidential source interviews occurred, as well as the information gleaned during those
interviews.

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murder. (Id. ¶¶ 21, 51-53.) CS-2, incarcerated when the affidavit was filed, was a rival gang

member who claimed to have firsthand knowledge concerning a reprisal killing by the Piru

Bloods. (Id. ¶¶ 22-23, 32-36, 91.) CS-3 claimed to have knowledge concerning a separate

reprisal killing by Piru Bloods members (id. ¶¶ 53-54), although the affidavit does not state

whether CS-3 had any Piru Bloods affiliation. CS-4 was a Bloods member from another

jurisdiction7 whom law enforcement transplanted to the Nashville area to infiltrate the Piru

Bloods, although the effort was unsuccessful for unspecified reasons. (Id. ¶ 25.) CS-5,

incarcerated when the affidavit was filed, was a member of the “Skyline Piru Bloods” –

presumably another local-area Piru Bloods set – from April 2007 forward, who claimed to have

knowledge concerning another Piru Bloods reprisal killing that involved both Williams and

Newsome. (Id. ¶¶ 26, 43, 94.) CS-6, the government’s chief informant, was a current Nashville-

area Eastside Skyline Piru Bloods member with firsthand knowledge concerning the activities of

the Piru Bloods, including Piru Bloods reprisal killings, drug trafficking, violent initiation rites,

and use of firearms in furtherance of their operations. (See, e.g., id. ¶¶ 28, 29, 31, 40-42, 44, 56.)

       The confidential sources provided, inter alia, accurate information linking the Piru Bloods

to at least three homicides and speculative information linking the Piru Bloods to a fourth

homicide, as follows:

       •       Pullen Homicide (May 19, 2006): CS-2 and CS-6 provided firsthand
               information describing how, at the direction of their Eastside Skyline Piru
               Bloods faction leader, Defendant Allen and others shot to death a member
               of a rival faction, Martin Pullen, then fled the scene of the crime with CS-2,
               and were ultimately promoted within the gang for these killings at a
               meeting in which CS-6 participated. (Id. ¶¶ 30-38.)


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        The affidavit states that CS-4 was a “Bloods” member, but does not indicate that he/she
was a “Piru Bloods” member.

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      •       Goins Homicide (June 14, 2008): CS-5 and CS-6 provided firsthand
              accounts that Piru Bloods members shot to death a member of a rival gang,
              Michael Goins, who had allegedly shot one of Newsome’s subordinates,
              Anthony Lampkins. (Id. ¶¶ 39-43.) Both CS-5 and CS-6 contended that
              they overheard Newsome identify Goins, after which the shooting
              occurred. (Id.) After CS-6 claimed to know the location of one of the
              murder weapons, CS-6, at the direction of investigators, engaged in a
              controlled purchase of this firearm at referenced location, which
              investigators then linked to the Goins homicide through the the National
              Integrated Ballistics Information Network (“NIBIN”). (Id. ¶¶ 42.)
              Furthermore, on a tip from CS-6, authorities executed a search warrant at
              the house of a Piru Bloods gang member, leading to the seizure of a second
              firearm that authorities confirmed had been used to shoot Goins through
              the NIBIN. (Id. ¶¶ 44-46.)8

      •       Franklin Homicide (July 4, 2008): CS-1 and CS-3 provided information
              that Newsome, Williams, and two other Piru Bloods members committed a
              “drive-by” shooting of the victim, Alexandra Franklin, who was the
              girlfriend of an individual with whom Williams and Newsome had an
              ongoing violent dispute. (Id. ¶ 51-52.) Investigators independently
              verified certain details of CS-1's account. (Id. ¶ 52.) CS-3 also contended
              that, one week after the homicide, Williams brought a bag of firearms to
              the residence of Eastside Skyline Pirus member Joedon Bradley, intending
              for CS-3 and Bradley to hide the firearms, which CS-3 believed were
              associated with the Franklin homicide. (Id. ¶ 53.) Approximately three
              weeks later, police executed a narcotics-related search warrant at the
              residence of another Eastside Skyline Piru Bloods member, at which
              Bradley was present at the time of the search. (Id. ¶ 54.) Incident to that
              search, investigators recovered a pistol that investigators linked to the
              Franklin homicide through the NIBIN. (Id.)

      •       Campbell Homicide (July 23, 2008): CS-3, CS-5, and CS-6 claimed to
              have knowledge of the homicide of Darsean Campbell, who was shot to
              death in Nashville in July 2008. (Id. ¶ 47-49.) CS-6 stated that Campbell
              was a member of a rival gang, and both CS-3 and CS-5 believed that Tree
              Top Piru Bloods member Gaddie had shot Campbell (id.), although the
              affidavit does not state the basis for their beliefs.


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         The First Affidavit asserts that, at the execution of the warrant at this residence, the
residents fled into the house, locked themselves inside, and attempted to hide the firearms in a
closet space on an upper floor, at the direction of defendant Tree Top Piru Bloods member
Kenneth Gaddie. (Id. ¶¶ 44-45.)

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       In addition to procuring evidence regarding these homicides, law enforcement utilized the

confidential sources in other ways. For instance, the government transplanted CS-4 to Nashville

in an attempt to have CS-4 infiltrate the Piru Bloods, but this effort failed for unspecified reasons.

(Id. ¶ 25.) Also, pursuant to a tip by CS-6 that defendant Jones and other Piru Bloods members

were engaged in drug trafficking, in August 2009, law enforcement utilized CS-6 to perform a

controlled purchase of cocaine from defendant Jones, which CS-6 set up through telephone

discussions with Jones and performed under law enforcement supervision. (Id. ¶¶ 55-58.) CS-6

alleged that Newsome had been provided security services for Anthony Bryant, a convicted

narcotics trafficker, to assist Bryant in ongoing distribution of narcotics. (Id. ¶ 55.) CS-6 also

alleged that Newsome was performing similar services for Tree Top Pirus member James House.

(Id.) Finally, CS-6 assisted authorities in tracking telephone numbers relating to Newsome and

wore a concealed recording device while participating in a January 2010 joint Piru Bloods

meeting run by Newsome and Williams, in which Williams ordered CS-6 to pay Jones $2,500 for

a prior drug debt. (Id. ¶ 63.)

       With respect to Newsome’s telephone numbers, the government engaged in a series of

efforts to obtain information through pen registers, trap and trace analysis, and consensually

recorded phone calls, with assistance from CS-6. (Id. ¶¶ 59-62.) However, Newsome frequently

changed phones, thereby frustrating efforts to obtain timely information through traditional

investigative means. (Id.) For example, in an eight-month period between April 28, 2009, and

December 8, 2009, Newsome changed cell phones three times, outpacing the government’s

efforts to obtain timely pen register data from the relevant service providers and to conduct

consensually recorded and monitored calls. (Id.) Finally, in January 2010, the government was

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able to monitor two consensually recorded phone calls with Newsome on the fourth cell phone, in

which Newsome provided Williams’ cell phone number and outlined payment terms for the drug

debt referenced in the January 2010 meeting that CS-6 had recorded. (Id. ¶¶ 64-65.) However, in

February 2010, Newsome discarded his cell phone yet again. (Id. ¶ 66.) CS-6 then provided

authorities an updated cell phone number for Newsome, TT1. (Id.) Thereafter, in a consensually

recorded phone call with CS-6, Jones confirmed the payment terms that Newsome had outlined to

CS-6. (Id. ¶ 67.) CS-6 then placed a consensually recorded call to Newsome at TT1, in which

Newsome acknowledged payment of the drug debt to Jones and mentioned that the Piru Bloods

were likely going to engage in a fight that night at a club. (Id. ¶ 68.)

       In addition to procuring evidence through confidential sources, the government undertook

other traditional investigative techniques before filing the First Application. For instance, it

conducted a telephone toll analysis of TT1, which demonstrated that Newsome was frequently in

contact with known Piru Bloods members and narcotics dealers, including, inter alia, Williams

and Jones. (Id. ¶¶ 69-72.) The government also attempted to conduct physical surveillance of

Newsome, with limited success. Two recent attempts to conduct physical surveillance of

Newsome’s residence had to be abandoned because the agents were attracting the attention of

local residents. (Id. ¶¶ 80-81.) Also, the government installed a pole camera outside an alleged

Piru Bloods meeting house, but this external surveillance was of limited value because the

meetings typically took place inside the building. (Id. ¶ 83.)

       The First Affidavit also states that various other investigative measures had been

considered but not attempted, for the following reasons:

       •       Pen Registers: In the agent’s experience, pen registers and toll analysis are
               of limited value in investigating street gangs because the phones may be

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            registered under fictitious names, the user may not be the same as the
            subscriber, and prepaid cell phone records do not require accurate name or
            address information. Furthermore, Newsome’s phone usage had proven
            particularly difficult to track through pen registers because he discarded his
            telephone number frequently.

      •     Grand Jury Subpoenas: Based on the agents’s experience, grand jury
            subpoenas would not be effective. Gang members likely would give
            untruthful information and/or invoke their Fifth Amendment privilege not
            to testify. Immunity would be undesirable because it could require
            immunization of the conspiracy’s most culpable members to obtain the
            necessary information. Furthermore, service of grand jury subpoenas
            would alert target subjects to the investigation, causing them to be more
            cautious, and/or to flee, to threaten informants, or otherwise compromise
            the investigation.

      •     Confidential Sources: The confidential sources provided accurate and
            actionable information, but all except for CS-6 had met their practical
            limitation in providing assistance to the investigation. CS 1 was a member
            of a rival gang with no current knowledge of the Piru Blood’s current
            activities; CS-2 possessed only historical information; CS-3 possessed only
            historical information and was currently incarcerated; CS-4 resided outside
            Tennessee and possessed no information regarding the Piru Bloods; and
            CS-5 possessed no current information. As to CS-6, CS-6 was a low-
            ranking member of one set of the Piru Bloods who was not privy to the full
            nature and extent of the gang’s criminal activities.

      •     Undercover Agents: Based on the agent’s experience, criminal street gang
            members are inherently suspicious of individuals they do not know,
            particularly in the context of insular groups like the Piru Bloods.
            Furthermore, even if an agent could infiltrate the organization, it would be
            difficult to protect that individual, particularly if the Piru Bloods searched
            that individual for a weapon and/or recording device.

      •     Consensual Recordings: Although CS-6 had engaged in consensually
            recorded discussions with Newsome, the recordings were of limited value
            in gaining the desired evidence. CS-6 occupied only a limited role in the
            Piru Bloods and further attempts by CS-6 to engage Newsome and others
            in recorded calls could have compromised the investigation and/or
            endangered CS-6's life. Other than CS-6, the government did not have any
            confidential sources with access to Newsome or other members of the Piru
            Bloods.

      •     Interviews of Witnesses or Subjects/Arrest Warrants: The most

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               knowledgeable subjects are also participants in the crimes under
               investigation, would be unlikely to cooperate, and might have alerted the
               other members of the organization to the existence of the investigation,
               resulting in the possible destruction of documents and other evidence.
               Moreover, if an interviewee ascertained the identity of a cooperating
               source, that source could face retaliation.

       •       Search Warrants: Based on the affiant’s experience, the execution of
               search warrants would not generate sufficient evidence to determine the
               full nature and scope of the criminal conspiracy, the participants, or their
               methods of operation. Moreover, execution of search warrants would tip
               off targets of the investigation, causing them to curtail or conceal their
               activities, thereby bringing the investigation to a premature conclusion.
               Although investigators had identified certain residences utilized by
               Newsome and the Piru Bloods, they had not yet identified the locations
               utilized for planning violent acts. Execution of search warrants would be
               more productive at the conclusion of the investigation, once all the
               locations had been identified and the goals of the investigation
               substantially achieved.

       •       Trash Searches: Newsome lived in an apartment complex with a high
               frequency of narcotics trafficking, in which the residents utilized a
               common area for trash, thereby rendering trash searches impractical. Also,
               the area contained a high traffic volume, posing a risk that Newsome would
               have been tipped off to the investigation if agents searched the trash.
               Regardless, in the agent’s experience, trash searches are unlikely to yield
               evidence of criminal activity, because narcotics traffickers typically destroy
               potentially incriminating evidence and rarely use trash containers to
               dispose of incriminating materials.

(Id. ¶¶ 84-104.)

                      (2)      Second Affidavit

       The Second Application added six new “targets” to the investigation, about whom the

Second Affidavit provided background information concerning their Piru Bloods affiliations and

criminal histories. (Second Affidavit ¶¶ 17(m)-(r).) The Second Affidavit incorporated the First

Affidavit (id. ¶ 21) and added information gleaned from the recorded calls, which included

evidence reflecting, inter alia, a robbery by Newsome of an expelled Piru Bloods member (id. ¶


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25); Williams’ efforts to broker a dispute concerning one member threatening to murder another

(id. ¶ 23); an individual informing Newsome that he intended to shoot two people in a retaliatory

killing, for which Newsome directed the individual to Brooks for ammunition (id. ¶ 26);

Newsome and Williams’ accurate suspicions that police were physically surveilling them in

unmarked vehicles (id. ¶ 27); Jones informing Newsome that he shot a rival gang member, which

independent investigation confirmed had occurred (id. ¶ 28); a discussion concerning an

independently confirmed shooting (id. ¶ 29); Newsome’s provision of rifle ammunition to support

an Eastside Skyline Piru Bloods member’s request to retaliate against members of a rival gang

(id. ¶¶ 28-29); and Newsome’s and Williams’ intent to “knock off” a Piru Bloods gang member

believed (incorrectly) to be a police informant (id. at ¶ 31).

       With respect to non-wiretap investigative techniques, the Second Affidavit added

supplemental information concerning certain techniques, as follows:

       •       Toll Analysis: A telephone toll analysis for TT2 demonstrated that
               Williams was in contact with various convicted felons who had been
               recorded discussing gang-related activities with Newsome on TT1. (Id. ¶¶
               33-35.)

       •       Physical Surveillance: Recent physical surveillance of Williams and
               Newsome failed because they became aware of the tail. (Id. ¶ 43.)

       •       Confidential Sources: CS-6 had to be abandoned as an informant because
               of his continued participation in gang-related activity. (Id. ¶ 51.)

       •       Consensual Recordings: The loss of CS-6 left authorities no practical
               means of engaging Williams, Newsome, or other Piru Bloods members in
               consensually recorded telephone calls. (Id. ¶ 59.)

       •       Trash Searches: Investigators identified a residence belonging to another
               person where Williams resides but stated that Williams frequently moves
               between residences, reducing the likelihood that a trash search at the one
               residence would yield evidence of criminal activity. (Id. ¶¶ 64-66.)


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                      (3)      Third Affidavit

       The Third Application added six more targets to the investigation, for which the Third

Affidavit provided background information concerning their Piru Bloods affiliations and criminal

histories. (Third Affidavit ¶¶ 17(s)-(x)). The second wiretap had recorded, inter alia, Newsome

discussing with Jones a robbery by an Eastside Skyline Piru Bloods member (id. ¶ 26); Newsome

discussing with Pettus the potential reprisal killings of rival gang members (id. ¶ 24); a Tree Top

Piru Bloods member discussing police questioning of an individual to “build a case” on

Newsome, expressing that individuals questioned by investigators should “cool down” (id. ¶ 25);

Williams and Pettus discussing the distribution of narcotics (id. at ¶¶ 27 and 32); Newsome and

Williams discussing providing a gun to Piru Bloods member to “follow” someone who had

robbed that member (id. ¶ 29); Newsome and Williams (on TT3), discussing law enforcement

attempts to question Newsome’s father regarding gang activity, which the father had relayed to

Newsome, and expressing concern about a “leak” within the Piru Bloods (id. at ¶ 30); and

Williams and Newsome discussing “x’ing off” certain Piru Bloods members (id. ¶ 31).

       With regard to non-wiretap techniques, the Third Affidavit added the following:

       •       Telephone Toll Analysis: A telephone toll analysis for TT3 demonstrated
               that Williams was in frequent contact with known Piru Bloods gang
               members and narcotics traffickers, including recent discussions on TT2 (a
               separate Williams cell phone) regarding narcotics trafficking (id. ¶ 35) and
               establishing a Chattanooga branch of the Piru Bloods. (Id. at ¶¶ 36-37).

       •       Physical Surveillance: Investigators again attempted to conduct physical
               surveillance of Newsome and Williams, but Williams identified the police
               presence at a scheduled meeting with Newsome and, therefore, refused to
               meet with Newsome at his residence. (Id. ¶ 45.)

       •       Confidential Sources: CS-6 continued to be involved in unauthorized
               gang-related criminal activity and, therefore, could no longer be
               proactively utilized. (Id. ¶ 53.)

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       •       Trash Searches: Newsome moved to a new apartment in the same complex
               as his previous residence, which, as before, utilized a common area for
               trash, had a high degree of narcotics trafficking, and had a lot of foot
               traffic, thereby rendering trash searches impractical. (Id. ¶ 68.)

                       (4)      Fourth Affidavit

       The Fourth Affidavit added three new targets to the investigation, for which the affiant

provided background information concerning their Piru Bloods affiliations and criminal histories.

(Fourth Affidavit ¶¶ 17(y)-(aa).) The Fourth Application sought to intercept communications on

the telephone belonging to William Bartlett, a leader of the Eastside Skyline Piru Bloods living in

Gallatin, who allegedly was conspiring with Williams to set up a Chattanooga branch of the Piru

Bloods. (Id. ¶¶ 21, 25.) According to the Fourth Affidavit, previous wiretaps and investigation

had adduced the following information concerning Bartlett: Bartlett is the leader of Gallatin set of

the Eastside Skyline Pirus (¶¶ 25, 37); certain of Bartlett’s relatives, who are incarcerated, were

founding members of the Piru Bloods in Tennessee (¶ 25); Bartlett and Newsome discussed a

violent dispute between a Piru Bloods member and a rival gang member (id. at ¶ 26); Bartlett and

Newsome discussed a Piru Bloods meeting in which certain members failed to participate because

they expected to be beaten at the meeting for violating gang rules (id. at ¶ 27); and Williams and

Bartlett discussed running a Chattanooga branch of the Piru Bloods and setting up a rank structure

for it (id. at ¶¶ 25, 28-29), in which any “calls” would “come through us.” (Id. ¶ 28.) The Fourth

Affidavit also incorporated the prior affidavits, which had established that Bartlett and Williams

(the leader of the Nashville Eastside Skyline Pirus) were in frequent telephone contact. (Second

Affidavit ¶ 34.)

       The affidavit also indicated that three new confidential sources were developed. CS-7, a


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member of the Eastside Skyline set of the Nashville Piru Bloods (headed by Williams), provided

information that Williams was seeking to organize a Chattanooga branch of the Eastside Skyline

Piru Bloods and that a meeting involving both Nashville and Chattanooga members would be

taking place. (Fourth Affidavit ¶ 21.) CS-7 may also have informed authorities that this branch

would be engaged in illegal narcotics trafficking. (Id. ¶ 21.)9 CS-8, a member of the Tree Top set

of the Nashville Piru Bloods (headed by Newsome), stated that he/she could obtain photographs

of Piru Bloods members illegally possessing firearms and illegal narcotics and could assist law

enforcement in identifying Piru Bloods members. (Id. ¶ 22.) CS-9, a member of the Athens Park

Bloods in Gallatin, Tennessee, stated that he/she could provide information concerning this

branch of the Piru Bloods and could engage in controlled purchases of narcotics from high-

ranking members, although CS-9 ultimately refused to cooperate with investigators. (Id. ¶ 23.)

       With respect to non-wiretap investigative techniques, the Fourth Affidavit added the

following information:

       •       Telephone Toll Analysis: Bartlett was recently in telephone contact with known
               gang members and narcotics dealers. (Id. ¶ 30.) One of those contacts was Donald
               Dowell, a member of the Nashville set of Eastside Skyline Pirus who himself had
               recently engaged in incriminating conversations with Newsome, in which Dowell
               requested ammunition from Newsome to shoot rival gang members (id. ¶ 31).
               Dowell was also recorded discussing Piru Bloods members receiving rank in jail
               for fighting rival gang members. (Id..) Another of Bartlett’s recent contacts was
               Allen, an Eastside Skyline Piru Bloods member who had recently engaged in a
               potentially incriminating conversation with Newsome, in which he urged
               Newsome not to conduct a meeting with Williams and other Tree Top Pirus and
               Eastside Skyline Pirus members because of suspected police surveillance. (Id. ¶


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        The affidavit states that, based on his/her involvement with Williams, CS-7 “provided
information regarding illegal narcotics trafficking and an upcoming PIRU gang meeting to be
held in Nashville and Chattanooga.” (Id. ¶ 21.) It is unclear from the wording of this statement
whether the information concerning “illegal narcotics trafficking” specifically related to the
Chattanooga set of Piru Bloods that Williams and Bartlett were organizing.

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               32).

       •       Physical Surveillance: Attempts to conduct physical surveillance of
               Bartlett were unsuccessful because Bartlett was not found at either of his
               listed residential addresses. (Id. ¶ 40.) Authorities attempted to conduct
               surveillance of Bartlett at his place of work but met with “negative results”
               for unspecified reasons. (Id. ¶ 40.) Furthermore, authorities did not have a
               confidential source within Bartlett’s set of Piru Bloods that could provide
               information about when and where meetings would take place. (Id. ¶ 42.)
               Separately, an attempt to conduct physical surveillance of Newsome’s
               residence while Newsome was away was unsuccessful because agents were
               observed by an individual who appeared to be operating as a lookout for
               Newsome. (Id. ¶ 40.)

       •       Confidential Sources: CS-7 was not in a position to provide information
               regarding Bartlett or his set of Piru Bloods or infiltrate that group in order
               to get close to Bartlett. (Id. ¶¶ 53.) CS-8 was not in a position to infiltrate
               Bartlett’s set of the Piru Bloods or provide information regarding Bartlett’s
               gang activity and leadership. (Id. ¶ 54.) CS-9 refused to cooperate with
               authorities and could no longer be used. (Id. ¶ 55.) Furthermore, none of
               the confidential sources (including CS-1 through CS-6) had provided
               information regarding the activities or involvement of Bartlett in the Piru
               Bloods. (Id. ¶ 46.)

       •       Consensual Recordings: Investigators did not have a confidential source
               with access to Bartlett who could make consensual recordings without
               compromising the investigation or endangering his/her safety. (Id. ¶ 58.)

       •       Search Warrants: Investigators had not identified the locations used by
               Bartlett to discuss and plan gang-related violent acts. (Id. ¶ 62.)

       •       Trash Searches: Two potential residences of Bartlett were located within a
               public housing complex with high traffic, raising the possibility of
               detection. (Id. ¶ 63.)

               (C)    Necessity

       Title III requires that an application for a wiretap order contain a “full and complete

statement as to whether or not other investigative procedures have been tried and failed or why

they reasonably appear to be unlikely to succeed if tried or to be too dangerous.” United States v.

Stewart, 306 F.3d 295, 304 (6th Cir. 2002) (quoting 18 U.S.C. § 2518(1)(c)). This statutory

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requirement is designed “to ensure that a wiretap ‘is not resorted to in a situation where

traditional investigative techniques will suffice to expose the crime.’” Alfano, 838 F.2d at 163

(quoting United States v. Kahn, 415 U.S. 143, 152 n.12, 94 S. Ct. 977, 39 L. Ed. 2d 225 (1974)).

The Sixth Circuit has defined the relevant standard for assessing the adequacy of the “needs

statement” in an application as follows:

       Wiretaps are not to be used thoughtlessly or in a dragnet fashion. As our court has
       said, what is needed is to show that wiretaps are not being routinely employed as
       the initial step in criminal investigations. However, the government is not
       required to provide that every other conceivable method has been tried and failed
       or that all avenues of investigation have been exhausted.

United States v. Giacalone, 853 F.2d 470, 480 (6th Cir.1988) (quoting Alfano, 838 F.2d at 163)

(internal citations and quotations omitted) (emphasis added). A wiretap need not be used only as

a last resort. Landmesser, 553 F.2d at 20. Thus:

       All that is required is that the investigators give serious consideration to the non-
       wiretap techniques prior to applying for wiretap authority and that the court be
       informed of the reasons for the investigators’ belief that such non-wiretap
       techniques have been or will likely be inadequate.

Giacalone, 853 F.2d at 480 (quoting Alfano, 838 F.2d at 163-64). At the same time, “[w]hile the

prior experience of investigative officers is indeed relevant in determining whether other

investigative procedures are unlikely to succeed if tried, a purely conclusory affidavit unrelated to

the instant case and not showing any factual relations to the circumstances at hand would be

inadequate compliance with the statute.” United States v. Rice, 478 F.3d 704, 710 (6th Cir. 2007)

(quoting Landmesser, 552 F.2d at 20). In determining whether an application meets the necessity

requirement, a “reasonable statement of the consideration or use of other investigative means is

adequate.” Alfano, 838 F.2d at 164. The court must evaluate the showing “in a practical and

common sense fashion.” Landmesser, 553 F.2d 17, 19-20 (6th Cir. 1977).

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       Here, the government made the requisite showing. The investigation proceeded over an

18-month period before the government filed the First Application for a wiretap. That

investigation included both live and electronic physical surveillance, a controlled drug purchase, a

controlled firearms purchase, an attempt to transplant a confidential source to infiltrate the

organization, multiple consensually recorded phone calls, warrant-based searches of at least two

locations affiliated with Piru Bloods-related criminal activity, the development of multiple

confidential sources, toll analysis, multiple attempts to trap and trace Newsome’s cell phones, and

ballistics investigation, among other efforts. Subsequent affidavits provided relevant updated

information concerning the ongoing investigation. Plainly, the wiretap requests concerning these

applications were not made as the “initial step” in the government’s investigation of the Piru

Bloods.

       Furthermore, the First, Second, and Third Affidavits provided the issuing judge with a

substantial explanation of the limits on non-wiretap investigative techniques that were

undertaken. For example, the First Affidavit provides case-specific facts detailing the limitations

on physical surveillance of Newsome personally and of an alleged meeting house, the difficulty in

utilizing pen registers because Newsome frequently changed phones, the limitations on the ability

of the investigation’s confidential sources to conduct effective consensually recorded telephone

calls with principals of the conspiracy, and the futility of conducting trash searches at Newsome’s

residence in a highly trafficked apartment complex with a common trash area. The subsequent

affidavits provide similar information concerning the named interceptees for each wiretap.

       Similarly, the affiants’ detailed statements concerning the techniques that were

considered, but not attempted, also demonstrate “serious consideration” of the use of alternative


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investigative techniques. As other courts within the Sixth Circuit have found under similar

circumstances, the court may rely on the reasoned judgments of an appropriately experienced

affiant that the use of certain techniques, including grand jury subpoenas, the issuance of search

warrants and arrest warrants, undercover agents, and witness interviews, risk compromising the

entire investigation by tipping off the subjects of the potential investigation and/or would not

general truthful information. See, e.g., United States v. Haque, 315 Fed. App’x 510, 518 (6th Cir.

2009) (upholding wiretap where authorities utilized confidential informants, pen registers, trap

and trace, and physical surveillance, but did not utilize undercover agents or a grand jury

investigation because those methods were “unlikely to uncover the information the FBI was after

and, moreover, risked tipping off the targets to the investigation”); United States v. Walkup, 2010

WL 4778788, No. 1:09-CR-00026-R, at *1-*4 (W.D. Ky. Nov. 16, 2010); United States v. Hawk,

2007 WL 3118365, No. 3:05CR-151-S, at *1-*5 (W.D. Ky. Oct. 22, 2007); United States v.

Kelley, 596 F. Supp. 2d 1132, 1143-48 (E.D. Tenn. 2009); Unites States v. Hazelwood, 2011 WL

2553265, at *5-*9 (N.D. Ohio. June 28, 2011).10 Similarly, the court may rely on the affiant’s

reasonable belief that certain investigatory techniques, such as consensually recorded phone calls,

a grand jury investigation, telephone toll analysis, and trash searches, would not generate the

necessary information, even if they did not tip off the investigatory subjects. See Walkup, 2010



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          Indeed, the affiants’ beliefs here may have been well-founded. Piru Bloods members
sought to conceal a murder weapon when police attempted to effectuate a search warrant (First
Affidavit ¶ 45), Williams and Newsome became aware of physical surveillance efforts and may
have sought to “knock off” a suspected police informant (Second Affidavit ¶ 31), Newsome’s
father alerted Newsome to police questioning concerning potential gang activity by Newsome
(Third Affidavit ¶ 30), Newsome and Williams became concerned about a potential “leak” in
their organization (id.), and Allen advised Newsome not to conduct a joint Piru Bloods meeting
with Williams because of suspected police surveillance (Fourth Affidavit ¶ 32).

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WL 4778788, at *1-*4; Hawk, 2007 WL 3118365, at *1-5; Kelley, 596 F. Supp. 2d at 1143-48;

Hazelwood, 2011 WL 2553265, at *5-9.

       Although it is arguable whether the government exhausted all available alternative

investigative techniques before applying for a wiretap, it was not required to do so. Thus, taking

into consideration the great deference owed to an issuing judge’s decision, the court finds that the

Issuing Judge was presented with substantial facts demonstrating that the government met the

necessity requirement as to the First, Second, and Third Applications.

       The Fourth Application is a somewhat closer call. Unlike the previous three applications,

which related to Newsome and Williams, the Fourth Application sought communications

involving Bartlett, a member of a separate branch of the Piru Bloods outside of Nashville. The

affidavit does not articulate any inherent problems with conducting physical surveillance of

Bartlett at his place of work. Furthermore, it contains no indication that Bartlett frequently

changed cell phones, which in part justified the prior applications as to Newsome, nor does it

provide any indication that the government sought to engage Bartlett in consensually recorded

phone calls through one of its confidential sources. On the other hand, the affidavit indicates that

the government adduced what evidence it could from CS-7 regarding the Chattanooga branch of

the Piru Bloods; explains how Bartlett’s failure to provide accurate information concerning his

residence rendered physical surveillance of his residence impossible; details how, even if these

addresses were accurate, trash searches would risk detection; and explains that the two viable

confidential sources were not in a position to infiltrate’s Bartlett’s unit of the Piru Bloods or to

provide information concerning his gang-related activity and leadership. Furthermore, there

appear to be plausible reasons why the confidential sources were not in a position to engage in


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consensually recorded phone calls: CS-7 was not a member of Bartlett’s set of the Piru Bloods,

CS-8 does not appear to have provided any information regarding Bartlett in the first place, and

CS-9 ultimately refused to cooperate with investigators at all. Under these circumstances, the

court finds that, granting great deference to the Issuing Judge’s decision, the government made

the requisite minimal showing of necessity in support of the Fourth Application.11

               (D)     Probable Cause

       To establish probable cause for a wiretap, the issuing judge must determine whether the

facts alleged in the application create probable cause to believe that: (1) an individual has

committed, is committing, or is about to commit the offense charged; (2) communications

concerning the offense will be obtained through the requested surveillance; and (3) the location of

the electronic surveillance has been used, is being used, or will be used in the commission of the

offense, or is leased to, listed in the name of, or commonly used by the individual committing the

offense. Giacalone, 853 F.2d at 478 (citing 18 U.S.C. §§ 2518(3)(a), (b), and (d)). In

determining whether the evidence supporting a wiretap warrant meets this probable cause

standard, “there is no specific formula that must be met . . . , and . . . evidence must be judged on

the totality of the circumstances and in a reasonable and common sense manner.” Giacalone, 838

F.2d at 478 (quoting Alfano, 838 F.2d at 161) (internal citation omitted). The question that must

be decided in issuing a warrant is whether there is probable cause to believe that a crime will be


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          Brooks also asserts that the necessity requirement was not met because the affidavits
contain boilerplate language regarding the adequacy of non-wiretap investigative techniques,
reflecting a pure “cut and paste” job by the government from other matters. The defendant does
not cite to any Sixth Circuit authority concerning an independent specificity element of the
necessity requirement. At any rate, as detailed above, this argument is plainly without merit.
The affidavits contain a significant amount of case-specific information and, therefore, cannot be
“identical” to the affidavits allegedly submitted in other matters.

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uncovered. Id. “Under this standard, certainty is not required at this stage, and the exact

quantum of support required has frequently been described as ‘a fair probability,’ but more than a

‘mere suspicion’ that such evidence will be discovered.” Id. Accordingly, “[f]acts can amount to

a fair probability without being proof beyond a reasonable doubt or even a prima facie showing.”

Id. Thus, “the preference for warrants is most appropriately effectuated by according ‘great

deference’ to a magistrate’s determination . . . . [A] magistrate’s determination on the question of

probable cause will not be reversed if the record contains a ‘substantial basis for his probable

cause findings.’” Giacalone, 853 F.2d at 479 (internal citations omitted) (quoting Alfano, 838

F.2d at 162).

       The Defendants contend that the evidence gleaned from the wiretap should be suppressed

because the government failed to establish probable cause. In support of this argument, Brooks

contends that the applications improperly relied on uncorroborated information from confidential

informants whose credibility was not verified and that the information supporting probable cause

was stale. With respect to the First Application, Pettus contends that it failed to establish

probable cause that any of the target subjects committed or were committing the alleged crimes or

that particular communications concerning those alleged offenses would be obtained through

interception of Newsome’s phone.

                       (1)      Confidential Sources

        With respect to confidential sources, the Defendants point out that the affidavits contain

the following conclusory statements concerning the reliability and veracity of the confidential

sources: “CS [X] has been found to be reliable and credible by the agents who interviewed

him/her. Those agents have found no instances where CS [X] was untruthful or attempted to


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deceive them.” (See, e.g., First Affidavit ¶ 23.) The Defendants therefore argue that “[n]o facts

were given to the issuing judge to show that these confidential sources were reliable and/or

credible.” (Docket No. 686 at p. 43.) Furthermore, the Defendants point out the affidavits do not

state that any of these informants provided information leading to conviction in other matters, nor

do they provide any information concerning the length of the relationship between the affiant and

each source.

       Before issuing a warrant based on hearsay information provided by confidential sources,

the issuing judge must have evidence that establishes the veracity and basis of knowledge of those

sources. United States v. Williams, 224 F.3d 530, 532 (6th Cir. 2000). Where, as here, a warrant

affidavit provides no indicia of an informant’s reliability, the affidavit must contain substantial

independent police corroboration. United States v. Frazier, 423 F.3d 526, 532 (6th Cir. 2005);

see also United States v. Patrick, No. 1:08-CR-130, 2009 WL 1766259, at *3-*4 (E.D. Tenn. June

23, 2009) (applying Frazier standard to review of wiretap application). The affidavit “should be

judged on the adequacy of what it does contain, not on what it lacks, or on what a critic might say

should have been added.” United States v. Allen, 211 F.3d 970, 975 (6th Cir. 2000).

       Independent police corroboration can take many forms. For instance, a single police-

monitored controlled purchase of drugs by the informant provides sufficient independent

corroboration of an informant’s reliability. United States v. Coffee, 434 F.3d 887, 891-96 (6th

Cir. 2006) (finding that probable cause was established where informant conducted a controlled

purchase of drugs from alleged drug distributor subject to warrant application); United States v.

Gunter, 266 Fed. App’x 415, 417-418 (6th Cir. 2008) (finding that the reliability of an informant

was established where informant conducted two controlled drug purchases from alleged drug


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distributor, because “[i]f one such purchase was sufficient to corroborate an informant’s

statements in Coffee, then two purchases will more than suffice in the instant case”); United

States v. Jackson, 470 F.3d 299, 307-08 (6th Cir. 2006) (controlled purchase of drugs by unnamed

confidential source demonstrated reliability of informant, and, therefore, the “magistrate’s finding

of probable cause was based on the affiant’s personal knowledge and observations, rather than

hearsay of the informant.”)

       Similarly, where an informant provides information that is consistent with information

already independently known to the affiant, or where subsequent investigation confirms the

information provided by the informant, the reliability of the informant may be established. See

United States v. Tuttle, 200 F.3d 892, 894 (6th Cir. 2000) (finding that reliability of informant

was independently corroborated, where informant’s tip that defendant was utilizing stolen parts at

auto shop was consistent with information already independently known to law enforcement);

United States v. McNally, 327 Fed. App’x 554, 557-78 (6th Cir. 2009) (where informant alleged

that defendant was involved in child pornography, independent corroboration of informant’s

reliability was established where investigator independently verified the alleged residential and

business addresses of the defendant, his alleged employer, and the alleged existence of restraining

order against him in favor of the informant).

       Here, there is ample evidence that the investigators independently corroborated many of

the details provided by the confidential sources in support of the First Affidavit, and by extension

the Second and Third Affidavits. For example, after CS-6 asserted that the firearm used to kill

Michael Goins was located at a particular residence, CS-6 conducted a monitored, controlled

purchase of the firearm at that location, and the investigators independently verified that the


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firearm was utilized in the Goins homicide. Similarly, CS-6 engaged in a monitored, controlled

purchase of drugs from defendant Jones. Even standing alone, these acts demonstrated CS-6's

reliability. Furthermore, after CS-6 contended that Goins was shot in retaliation for the shooting

of Piru Bloods member Lampkins by Goins’ affiliates, investigators confirmed that Lampkins in

fact had been shot approximately three weeks before the Goins homicide. CS-2 and CS-6 also

both gave consistent accounts concerning the circumstances of the Pullen homicide, including

dates and locations for the incident that were consistent with independent data regarding when

and where the homicide occurred. Moreover, as to this homicide, both CS-2 and CS-6 described

the shooter as carrying an AK-47-type firearm, which investigators independently determined

carried the same type of ammunition that was found at the Pullen homicide scene. CS-6 also

provided accurate information concerning the location of defendant Gaddie, who was subject to

outstanding arrest warrants, leading to Gaddie’s arrest and the recovery of a firearm utilized in the

Goins homicide. CS-6 and CS-5 also provided information concerning the Franklin homicide

consistent with the date and location where it occurred and with certain eyewitness accounts.

These examples provide ample basis for the Issuing Judge to have concluded that at least some of

the confidential sources were reliable based on independent corroboration, particularly with

respect to CS-6, who was the government’s key informant.

       Moreover, some of the information provided by the confidential sources included

firsthand observations, not hearsay. For example, CS-6 claims to have witnessed the Goins

homicide and to have participated in a meeting in which defendant Allen receive a rank upgrade

for murdering Goins. Similarly, CS-5 contends that he was present with defendant Newsome and

others when the Franklin murder occurred, and both CS-2 and CS-6 claim to have witnessed


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defendant Allen carrying an AK-47-type assault rifle at the time and location of the Pullen

homicide.

       Thus, the court finds that, under the totality of the circumstances, the First Affidavit

presented sufficient information to demonstrate the veracity and reliability of the confidential

sources. The Second and Third Affidavits incorporated by reference the information presented in

the prior applications,12 and included paragraphs restating the reliability of CS-6 before he/she

ceased to be utilized as an informant. (See, e.g., Second Affidavit ¶ 14-15.) Because the previous

information related to the activities of both Williams and Newsome, it was permissible for the

court to rely on information provided by the confidential sources in reaching its probable cause

determinations as to phones utilized by Williams and Newsome.

       The Fourth Affidavit, which sought to tap only Bartlett’s phone, again presents a closer

question. Unlike the previous affidavits, the Fourth Affidavit does not explicitly identify the

corroborating information provided by one or more of the sources allegedly linking Bartlett to

criminal activity. The Fourth Affidavit does not even state that CS-8 or CS-9 provided

information related to Bartlett, the Gallatin Piru Bloods, or the proposed Chattanooga set of Piru

Bloods. On the other hand, CS-7 made at least two statements to authorities that were consistent

with data obtained independently by law enforcement, specifically: (1) that Williams was the

leader of the Eastside Skyline Piru Bloods, which information gleaned from previous recordings

and wiretaps demonstrated; and (2) that Williams was seeking to establish a Chattanooga branch



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          Without citation to any legal authority, the Defendants contend that the government
impermissibly purported to incorporate information presented in the prior affidavits by reference.
The court rejects this position, which is unsupported and would be, in any case, demonstrably
inefficient.

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of the Piru Bloods, which evidence recorded on previous wiretaps also demonstrated. Although it

is a close question, granting great deference to the Issuing Judge’s decision, the court finds that

the government presented the Issuing Judge with the requisite minimal showing that CS-7 was

credible.

                        (2)      Staleness

        The Defendants contend that the information supporting TT1 was stale. They point out

that one of the allegedly gang-related homicides occurred in 2006, approximately four years

before the First Application. In response, the government contends that the First Affidavit

established an ongoing pattern of criminal activity by the Piru Bloods between May 2006 and late

2009, demonstrating that the evidence was not stale.

        The standard of review for a staleness determination is the same as the standard for

determining the sufficiency of an affidavit. Greene, 250 F.3d at 480. Accordingly, the court

should apply a “totality of the circumstances” analysis and should not impose an arbitrary time

limitation within which discovered facts must be presented to a magistrate. Id. Allegations of

ongoing criminal activity will generally defeat a claim of staleness. Greene, 250 F.3d at 481;

United States v. Gray, 372 F. Supp. 2d 1025, 1040 (N.D. Ohio 2005) (rejecting argument that

evidence over six months old was stale, because alleged criminal activity was ongoing), aff’d 521

F.3d 514 (6th Cir. 2008); see also United States v. Urban, 404 F.3d 754, 774 (3d Cir. 2005)

(finding that evidence supporting wiretap was not stale because “[w]here the facts adduced to

support probable cause describe a course or pattern of ongoing or continuous criminality, the

passage of time between the occurrence of the facts set forth in the affidavit and the submission of

the affidavit itself loses significance.”)


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       Here, based on a fair reading of the entire affidavit, the information contained within the

First Affidavit was not stale. First, the affidavit indicates that authorities gathered evidence

regarding ongoing criminal activities by the Piru Bloods, including Newsome, through at least

February 11, 2010, less than a month before the First Application. Thus, the Issuing Judge was

presented with current evidence of ongoing criminal activity involving the owner of the target

telephone. Second, the allegations in the affidavit establish an ongoing pattern of criminal

activity by the Piru Bloods, including Newsome, that may have involved certain earlier offenses

such as multiple homicides and drug trafficking. Accordingly, even though the First Application

relied in part on evidence that was two or more years old, the alleged ongoing criminal activity of

the Piru Bloods defeats the claim of staleness as to that evidence. Finally, as noted above, CS-6

demonstrated his/her reliability with regard to earlier offenses, including the 2006 and 2008

homicides, permitting the court reasonably to rely on CS-6's contention that Piru Bloods

members, including Jones, Pettus, House, and Newsome, were continuing to engage in gang-

related criminal activity, such as drug trafficking.

       Evidence supporting the Second, Third, and Fourth Applications included information

gleaned from the previous wiretaps just days or weeks before each application was submitted, in

addition to the independent evidence previously obtained. Thus, evidence concerning those

applications was not stale either. Gray, 372 F. Supp. 2d at 1040 (rejecting staleness argument

where challenged wiretap included evidence from 30-day interception period and other evidence

derived independently).

                       (3)      Probable Cause Concerning the Investigatory Targets

       The applications and associated affidavits contend that the investigatory targets committed


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or would commit one or more of several offenses, including, inter alia, murder, conspiracy to

commit murder, attempted murder, drug trafficking, money laundering, conspiracy to commit

violent crimes in aid of racketeering, and utilizing firearms in furtherance of the conspiracy. The

Defendants contend that there was not probable cause to believe that at least some of the

investigatory targets had committed or would commit one of the alleged offenses, either directly

or by aiding and abetting.

        Although the Defendants urge the court to adopt a line-by-line analysis of the affidavits

supporting each application, the court must analyze the affidavits in a common sense manner,

based on the totality of the circumstances. Under that approach, each application was supported

by probable cause.

                                (a)     First Affidavit

        The First Affidavit details the activities of a multitude of Piru Bloods members, led by

Newsome and Williams. It outlines how the Piru Bloods, at the direction of their leaders,

allegedly engaged in reprisal killings of rival gang members, drug trafficking, violent initiation

rites for new members, the use of firearms in support of the criminal operation, and coordinated

efforts to conceal weapons utilized in the criminal operation, among other activities. The

evidence supporting the First Affidavit demonstrated Newsome’s stewardship of the criminal

operation, such as his coordination of drug trafficking by Jones. CS-6, a reliable informant, also

asserted that the Piru Bloods were continuing to engage in criminal activity, including drug

trafficking for which Newsome was providing protection services. Although the First Affidavit

does not reflect the entire scope of the alleged conspiracy, all of its participants, or all of the

specific links between the alleged criminal activities and Newsome, that does not render the


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affidavit lacking. Indeed, it was precisely in an effort to gain this information that the

government needed the wiretap. Thus, the court finds that the Issuing Judge was presented with a

substantial basis to find that government had more than a “mere suspicion” that Newsome – and

at least some of the targets – had engaged in and/or would continue to engage in one or more of

the alleged offenses. Moreover, as the telephone toll analysis and consensual recordings

demonstrated, Newsome was in frequent contact with known gang members and narcotics

traffickers and discussed gang-related activity on his cell phone. Thus, reading the affidavit in a

reasonable and common sense manner, the Issuing Judge could reasonably have found probable

cause to believe that incriminating communications would be intercepted on Newsome’s cell

phone. See Giacalone, 853 F.3d at 479-80; United States v. Dadanovic, Crim. No. 09-63-ART,

2010 WL 3620251, *7-9 (E.D. Ky. Sept. 10, 2010) (finding that probable cause was satisfied

where recorded calls reflected named interceptee’s potential involvement in drug trafficking and

registers reflected frequent contacts with other members of the alleged scheme).

                               (b)     Second, Third, and Fourth Affidavits

       As an initial matter, Brooks contends that the remaining applications improperly relied on

evidence unlawfully gathered pursuant to the prior wiretaps and that the Issuing Judge improperly

adopted the affiants’ interpretations of intercepted communications. First, having determined that

the first wiretap was lawful, the court finds that it was appropriate for the Issuing Judge to rely on

information obtained in the first wiretap in determining whether the subsequent wiretaps were

adequately supported. See Gray, 372 F. Supp. 2d at 1040. Second, as to the affiants’

interpretations of the intercepted communications, Brooks does not cite to any legal authority on

this issue. At any rate, the summaries of conversations provided by the affiant include a mix of


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summary information and transcript references, along with the affiants’ interpretations of certain

jargon contained within the recordings to the extent the meaning of the recordings was not

already self-evident. Although the definitive interpretation of whether these statements are

incriminating is ultimately a decision for the jury to make, the affiants’ interpretations generally

appear to be plausible, at a minimum. Accordingly, granting appropriate deference to the Issuing

Judge, the court finds that the Issuing Judge could reasonably have relied on the summaries and

excerpts of discussions provided by the affiants in reaching a probable cause determination.

       The Second Affidavit, which added Williams as an interceptee, established the requisite

probable cause to believe that both Williams and Newsome had committed or would commit at

least one of the alleged offenses. In addition to independent evidence linking Williams to at least

one gang-related homicide and ongoing drug trafficking, evidence gleaned from the first wiretap

reflected Williams’ continued participation in violent criminal activity, including an intent to

“knock off” a suspected police informant and to broker a dispute in which one Piru Bloods

member was threatening to shoot another one. Similarly, in addition to the evidence justifying

the initial wiretap, the wiretap recorded Newsome discussing a robbery he may have committed,

two gang-related shootings, and the potential reprisal against a gang member suspected of being a

police informant.

       The Third Affidavit, which related to Williams and Newsome, also established the

requisite probable cause. In addition to evidence previously adduced, it included wiretap

discussions involving Newsome concerning continued reprisal killings, robberies, and narcotics

trafficking, a conversation between Williams and Pettus concerning drug trafficking, and a

conversation between Newsome and Williams about providing a gun to a Piru Bloods member to


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use against someone who had robbed that member.

       The Fourth Affidavit also established probable cause for the wiretap of Bartlett’s phone.

Evidence indicated that Bartlett was a leader of a Gallatin set of Eastside Skyline Piru Bloods and

that Bartlett was in frequent telephone contact with various local Piru Bloods leaders, including

Williams (head of the Nashville Eastside Skyline Piru Bloods) and Newsome (head of the

Nashville Tree Top Piru Bloods). Furthermore, Bartlett was recorded discussing a joint Eastside

Skyline and Tree Top Piru Bloods meeting in which Bartlett identified several members who had

not attended out of fear of being beaten for violations of gang rules. Bartlett was also recorded

discussing with Williams, his Nashville East Skyline Pirus counterpart, the creation of a

Chattanooga branch of the Eastside Skyline Pirus, which Williams and Bartlett would lead.

Furthermore, Bartlett was in recent telephone contact with several known participants in the Piru

Bloods criminal conspiracy, including Williams, Newsome, Allen, and Dowell. Substantial

evidence presented to the Issuing Judge in earlier applications had demonstrated these individuals

and other members of local sets of the Piru Bloods had engaged and were continuing to engage in

various forms of criminal activity. Thus, the Issuing Judge was presented with evidence that

Bartlett associated with local Piru Bloods leaders, participated in and was aware of activities

involving the Nashville-based Piru Bloods sets, was a current leader of the Gallatin set of the Piru

Bloods, and seeking to become the prospective leadership of the Chattanooga Piru Bloods, and

was likely privy to information concerning criminal activities involving one or more of these Piru

Bloods sets. Accordingly, the court finds that the Issuing Judge was presented with a substantial

basis to find that request for a wiretap of Bartlett’s phone was supported by probable cause.

                                         CONCLUSION


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      For the reasons stated herein, the motion is DENIED.

      Enter this 2nd day of December, 2011.

                                                    _______________________________

                                                    ALETA A. TRAUGER
                                                    United States District Judge




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